  Case 18-68608-pwb                            Doc 10 Filed 11/08/18 Entered 11/09/18 01:33:06                                        Desc Imaged
                                                    Certificate of Notice Page 1 of 3
Information to identify the case:
Debtor 1                  Theodore Rossevelt Lundy                                                 Social Security number or ITIN   xxx−xx−2886

                          First Name     Middle Name     Last Name                                 EIN   _ _−_ _ _ _ _ _ _
Debtor 2                                                                                           Social Security number or ITIN _ _ _ _
(Spouse, if filing)       First Name     Middle Name     Last Name
                                                                                                   EIN   _ _−_ _ _ _ _ _ _
United States Bankruptcy Court Northern District of Georgia
Court website: www.ganb.uscourts.gov                                                               Date case filed for chapter 13 11/5/18

Case number:          18−68608−pwb



Official Form 309I
Notice of Chapter 13 Bankruptcy Case                                                                                                                   12/17


For the debtors listed above, a case has been filed under chapter 13 of the Bankruptcy Code. An order for relief has
been entered.
This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.
The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not take action to
collect debts from the debtors, the debtors' property, and certain codebtors. For example, while the stay is in effect, creditors cannot sue,
garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot demand repayment from
debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and punitive damages and attorney's fees.
Under certain circumstances, the stay may be limited to 30 days or not exist at all, although debtors can ask the court to extend or impose a
stay.
Confirmation of a chapter 13 plan may result in a discharge. (See line 13 below for more information.)
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed below or
through PACER (Public Access to Court Electronic Records at www.pacer.gov). Copy fees or access charges may apply. A free automated response
system is available at 866−222−8029 (Georgia Northern). You must have case number, debtor name, or SSN when calling.

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.
Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.

                                                    About Debtor 1:                                           About Debtor 2:
1. Debtor's full name                               Theodore Rossevelt Lundy

2. All other names used in the
   last 8 years
                                                    4904 Payson Way SE
3. Address                                          Atlanta, GA 30339
                                                    Howard P. Slomka                                       Contact phone (404) 800−4001
     Debtor's attorney                              Slipakoff & Slomka, PC
4.                                                  Overlook III − Suite 1700
     Name and address                               2859 Paces Ferry Rd, SE                                Email: se@myatllaw.com
                                                    Atlanta, GA 30339

5. Bankruptcy trustee                               Mary Ida Townson                                          Contact phone 404−525−1110
                                                    Chapter 13 Trustee                                        www.atlch13tt.com
                                                    Suite 2200
     Name and address                               191 Peachtree Street, NE
                                                    Atlanta, GA 30303−1740

6. Bankruptcy clerk's office                                                                                 Office Hours: 8:00 a.m. − 4:00 p.m.
                                                    M. Regina Thomas
                                                    Clerk of Court                                           Court website: www.ganb.uscourts.gov
     Documents in this case may be
     filed at this address. You may                 1340 United States Courthouse
     inspect all records filed in this case                                                                  Contact phone 404−215−1000
                                                    75 Ted Turner Drive SW
     at this office or online at                    Atlanta, GA 30303
      www.pacer.gov.
                                                                                                                   For more information, see page 2



Official Form 309I (For Individuals or Joint Debtors)       Notice of Chapter 13 Bankruptcy Case                                            page 1
 Case 18-68608-pwb                             Doc 10 Filed 11/08/18 Entered 11/09/18 01:33:06                                                    Desc Imaged
                                                    Certificate of Notice Page 2 of 3
Debtor Theodore Rossevelt Lundy                                                                                                            Case number 18−68608−pwb

7. Meeting of creditors                           December 20, 2018 at 01:00 PM                                         Location:
                                                                                                                        Third Floor − Room 365, Russell Federal
                                                                                                                        Building, 75 Ted Turner Drive SW, Atlanta, GA
    Debtors must attend the meeting               The meeting may be continued or adjourned to a later date. If so,     30303
    to be questioned under oath. In a             the date will be on the court docket.
    joint case, both spouses must
    attend.                                       TO THE DEBTOR: Bring an original government issued photo ID
    Bring a copy of this notice with              and confirmation of social security number. Provide the Trustee a
    you. Creditors may attend, but are            copy of your most recently filed tax return seven days prior to the
    not required to do so. Cellular               meeting, but DO NOT FILE WITH THE COURT.
    phones and other devices with
    cameras are not allowed in the
    building.                                     TO OTHER PARTIES: Objections to confirmation must be filed
                                                  and served in accordance with FRBP 3015 at least seven days
                                                  before the date set for the confirmation hearing.
8. Deadlines                                       Deadline to file a complaint to challenge                                  Filing deadline: 2/19/19
                                                   dischargeability of certain debts: You must file:
    The bankruptcy clerk's office                  •    a motion if you assert that the debtors are
    must receive these documents and                    not entitled to receive a discharge under
    any required filing fee by the                      U.S.C. § 1328(f) or
    following deadlines.                           •    a complaint if you want to have a particular
                                                        debt excepted from discharge under
                                                        11 U.S.C. § 523(a)(2) or (4).
                                                   Deadline for all creditors to file a proof of claim                        Filing deadline: 1/14/19
                                                   (except governmental units):
                                                   Deadline for governmental units to file a proof of                         Filing deadline: 5/6/19
                                                   claim:


                                                   Deadlines for filing proof of claim:
                                                   A proof of claim is a signed statement describing a creditor's claim. A proof of claim form may be obtained at
                                                   www.uscourts.gov or any bankruptcy clerk's office.

                                                   To file a claim electronically, visit www.ganb.uscourts.gov and access the ePOC tab.
                                                   If you do not file a proof of claim by the deadline, you might not be paid on your claim. To be paid, you must file
                                                   a proof of claim even if your claim is listed in the plan or schedules filed by the debtor.
                                                   Secured creditors retain rights in their collateral regardless of whether they file a proof of claim. Filing a proof of
                                                   claim submits the creditor to the jurisdiction of the bankruptcy court, with consequences a lawyer can explain.
                                                   For example, a secured creditor who files a proof of claim may surrender important nonmonetary rights,
                                                   including the right to a jury trial.


                                                   Deadline to object to exemptions:                                          Filing deadline:   30 days after the
                                                   The law permits debtors to keep certain property as exempt. If you                            conclusion of the
                                                   believe that the law does not authorize an exemption claimed, you                             meeting of creditors
                                                   may file an objection.

9. Filing of Plan, Hearing on                     Debtor's counsel is responsible for mailing the plan if not filed contemporaneously with the petition.
   Confirmation of Plan,                          The hearing on confirmation will be held: Date: 1/16/19 ,        Time: 09:30 AM ,   Location: Courtroom 1401,
   Allowance and Approval of                      Russell Federal Building, 75 Ted Turner Drive SW, Atlanta, GA 30303
   Debtor's Counsel Attorneys
   Fees
10. Creditors with a foreign                       If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking the court to
    address                                        extend the deadline in this notice. Consult an attorney familiar with United States bankruptcy law if you have
                                                   any questions about your rights in this case.
11. Filing a chapter 13                            Chapter 13 allows an individual with regular income and debts below a specified amount to adjust debts
    bankruptcy case                                according to a plan. A plan is not effective unless the court confirms it. You may object to confirmation of the
                                                   plan and appear at the confirmation hearing. The debtor will remain in possession of the property and may
                                                   continue to operate the business, if any, unless the court orders otherwise.
12. Exempt property                                The law allows debtors to keep certain property as exempt. Fully exempt property will not be sold and
                                                   distributed to creditors, even if the case is converted to chapter 7. Debtors must file a list of property claimed as
                                                   exempt. You may inspect that list at the bankruptcy clerk's office or online at www.pacer.gov. If you believe that
                                                   the law does not authorize an exemption that debtors claimed, you may file an objection by the deadline.
13. Discharge of debts                             Confirmation of a chapter 13 plan may result in a discharge of debts, which may include all or part of a debt.
                                                   However, unless the court orders otherwise, the debts will not be discharged until all payments under the plan
                                                   are made. A discharge means that creditors may never try to collect the debt from the debtors personally
                                                   except as provided in the plan. If you want to have a particular debt excepted from discharge under 11 U.S.C. §
                                                   523(a)(2) or (4), you must file a complaint and pay the filing fee in the bankruptcy clerk's office by the deadline.
                                                   If you believe that the debtors are not entitled to a discharge of any of their debts under 11 U.S.C. § 1328(f),
                                                   you must file a motion.




Official Form 309I (For Individuals or Joint Debtors)         Notice of Chapter 13 Bankruptcy Case                                                      page 2
      Case 18-68608-pwb               Doc 10 Filed 11/08/18 Entered 11/09/18 01:33:06                                Desc Imaged
                                           Certificate of Notice Page 3 of 3
                                               United States Bankruptcy Court
                                               Northern District of Georgia
In re:                                                                                                     Case No. 18-68608-pwb
Theodore Rossevelt Lundy                                                                                   Chapter 13
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 113E-9                  User: kkprice                      Page 1 of 1                          Date Rcvd: Nov 06, 2018
                                      Form ID: 309i                      Total Noticed: 11


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Nov 08, 2018.
db             +Theodore Rossevelt Lundy,   4904 Payson Way SE,   Atlanta, GA 30339-1979
21933838       +Aes/wells Fargo,   Po Box 61047,   Harrisburg, PA 17106-1047
21933840       +Fed Loan Serv,   Po Box 60610,   Harrisburg, PA 17106-0610

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
aty             E-mail/Text: se@myatllaw.com Nov 06 2018 22:38:50       Howard P. Slomka,
                 Slipakoff & Slomka, PC,   Overlook III - Suite 1700,     2859 Paces Ferry Rd, SE,
                 Atlanta, GA 30339
tr             +E-mail/Text: ebn@atlch13tt.com Nov 06 2018 22:41:40       Mary Ida Townson,   Chapter 13 Trustee,
                 Suite 2200,   191 Peachtree Street, NE,    Atlanta, GA 30303-1770
21933839       +EDI: AMEREXPR.COM Nov 07 2018 02:53:00      Amex,   Po Box 297871,
                 Fort Lauderdale, FL 33329-7871
21933849        EDI: GADEPTOFREV.COM Nov 07 2018 02:53:00      Georgia Department of Revenue,
                 1800 Century Blvd,   Suite 17200,    Atlanta, GA 30345
21933850        EDI: IRS.COM Nov 07 2018 02:53:00      Internal Revenue Service,    PO Box 7346,
                 Philadelphia, PA 19101-7346
21933851       +EDI: NAVIENTFKASMSERV.COM Nov 07 2018 02:53:00      Navient,    Po Box 9500,
                 Wilkes Barre, PA 18773-9500
21933855       +E-mail/Text: jennifer.chacon@spservicing.com Nov 06 2018 22:41:52       Select Portfolio Svcin,
                 Po Box 65250,   Salt Lake City, UT 84165-0250
21938256        E-mail/Text: usagan.bk@usdoj.gov Nov 06 2018 22:40:11       United States Attorney,
                 Northern District of Georgia,    75 Ted Turner Drive SW, Suite 600,    Atlanta GA 30303-3309
                                                                                              TOTAL: 8

             ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
21933856          Treymont at Dugarloaf Ass,    Luede, Larkin, And Hunter, LLC,                     5900 Windward Parkway,
                   Suite 390,    GA 30000-5000
21933844*        +Fed Loan Serv,    Po Box 60610,   Harrisburg, PA 17106-0610
21933845*        +Fed Loan Serv,    Po Box 60610,   Harrisburg, PA 17106-0610
21933846*        +Fed Loan Serv,    Po Box 60610,   Harrisburg, PA 17106-0610
21933847*        +Fed Loan Serv,    Po Box 60610,   Harrisburg, PA 17106-0610
21933848*        +Fed Loan Serv,    Po Box 60610,   Harrisburg, PA 17106-0610
21933841*        +Fed Loan Serv,    Po Box 60610,   Harrisburg, PA 17106-0610
21933842*        +Fed Loan Serv,    Po Box 60610,   Harrisburg, PA 17106-0610
21933843*        +Fed Loan Serv,    Po Box 60610,   Harrisburg, PA 17106-0610
21933852*        +Navient,    Po Box 9500,   Wilkes Barre, PA 18773-9500
21933853*        +Navient,    Po Box 9500,   Wilkes Barre, PA 18773-9500
21933854*        +Navient,    Po Box 9500,   Wilkes Barre, PA 18773-9500
                                                                                                                   TOTALS: 1, * 11, ## 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Nov 08, 2018                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on November 5, 2018 at the address(es) listed below:
              Howard P. Slomka   on behalf of Debtor Theodore Rossevelt Lundy se@myatllaw.com,
               myecfcalendar@gmail.com;myatllaw@gmail.com;info@myatllaw.com;notices@nextchapterbk.com;SlomkaTR74
               878@notify.bestcase.com
              Mary Ida Townson   courtdailysummary@atlch13tt.com
                                                                                            TOTAL: 2
